Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 1 of 7 PageID #: 1756
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 2 of 7 PageID #: 1757
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 3 of 7 PageID #: 1758
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 4 of 7 PageID #: 1759
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 5 of 7 PageID #: 1760
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 6 of 7 PageID #: 1761
Case 3:09-cr-00218   Document 580   Filed 12/02/13   Page 7 of 7 PageID #: 1762
